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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


 NETLIST, INC.                                          Civil Case No. 2:22cv00293-JRG
                                                        (Lead Case)
                Plaintiff,
                                                        JURY TRIAL DEMANDED
 v.

 SAMSUNG ELECTRONICS CO., LTD, et al.

                Defendants.


 NETLIST, INC.                                          Civil Case No. 2:22cv-00294-JRG
                                                        (Member Case)
               Plaintiff,
                                                        JURY TRIAL DEMANDED
 v.

 MICRON TECHNOLOGY TEXAS, LLC, et al.

               Defendants.


            SAMSUNG’S NOTICE OF SUPPLEMENTAL AUTHORITY
           PERTAINING TO SAMSUNG’S MOTION TO STAY PENDING
       RESOLUTION OF THE C.D. CAL. CASE REVERSED AND REMANDED
      BY THE NINTH CIRCUIT REGARDING SAMSUNG’S LICENSE (DKT. 187)

       On October 23, 2023, Samsung moved to stay this case pending resolution of the C.D.

Cal. Case. (Dkt. 187). The parties completed briefing on Samsung’s motion on November 15,

2023. Samsung provides this notice of supplemental authority to inform the Court of three

relevant developments since Samsung filed its motion.

#1 – Order Staying the District of Delaware Case

       Samsung Electronics Co., Ltd. et at. v. Netlist, Inc., No. 1:21-cv-1453, Dkt. 223 (D. Del.

Dec. 1, 2023) (attached as Exhibit 1). In the order, Judge Hall stated:




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            Having considered the totality of the circumstances—including in particular
            (i) the history and current procedural posture of this case and the related
            cases in other districts, (ii) that the ongoing proceedings in the Central
            District of California pertaining to the Netlist/Samsung JDLA have the
            potential to simplify all or some of the issues in this case, (iii) that a stay
            would not unduly prejudice Netlist under the particular circumstances here
            (where Netlist and Samsung at least at one point had a cross-licensing
            agreement that appears to have covered the patent-in-suit), and (iv) that the
            Court is unpersuaded that Samsung advanced an inconsistent position
            before the Ninth Circuit Court of Appeals—the Court concludes that the
            most appropriate course of action is to stay this case.

Ex. 1 (emphases added).

#2 – The Joint Notice in the C.D. Cal. Case and the C.D. Cal.’s Scheduling Order

         On November 27, 2023, Samsung and Netlist submitted a Joint Status Report in the C.D.

Cal. Case in response to the C.D. Cal. court’s minute order reopening the case. Netlist Inc. v.

Samsung Electronics Co., Ltd., Case No. 8:20-cv-00993-MCS-ADS, Dkt. 343 (C.D. Cal.

November 27, 2023) (attached as Exhibit 2). In the Joint Status Report, Samsung stated:

            The threshold issue before the Court is whether the extrinsic evidence
            creates a genuine issue of material fact as to the meaning of Section 6.2 of
            the JDLA. As this issue was already briefed once, there is adequate
            evidence in the summary judgment record for the Court to make this
            determination. Because the prior briefing did not focus solely on the issue
            the Ninth Circuit has now mandated be considered, Samsung proposes
            targeted supplemental briefs to specifically address the meaning of Section
            6.2, to be concurrently filed within 30 days of the Court’s decision
            following the filing of this Joint Status Report, with each side having the
            right to file a responsive brief 15 days thereafter. This supplemental
            briefing will allow the Court to focus its attention on the relevant evidence
            and law and comply with the Ninth Circuit’s mandate.
                                                  ...
            If the Court adopts Samsung’s interpretation of Section 6.2, there is no need
            for a trial on whether any alleged breach of Section 6.2 is material, and
            Netlist’s request for a declaration that it validly terminated the JDLA must
            be denied.

Ex. 3.
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         On November 30, 2023, the C.D. Cal. Court issued a minute order. Netlist Inc. v.

Samsung Electronics Co., Ltd., No. 8:20-cv-00993-MCS-ADS, Dkt. 345 (C.D. Cal. Nov. 30,

2023) (attached as Exhibit 3). In the order, the C.D. Cal. court stated:

            After a Ninth Circuit panel remanded this case for further proceedings,
            (Mem.,ECF No. 334; Mandate, ECF No. 340), the Court ordered the parties
            to file a joint status report proposing a schedule, (Order, ECF No. 341).
            Having reviewed the parties’ report, (J. Status Rep., ECF No. 343), the
            Court largely adopts Samsung’s proposal to re brief the remaining issues in
            the summary judgment proceedings based only on the existing record. (J.
            Status Rep. 23.) The Court sets the following schedule: Event Date:
            Simultaneous opening briefs due January 8, 2024; Simultaneous responsive
            briefs due January 22, 2024; Hearing February 5, 2024, at 9:00 a.m. The
            Court will set new trial and pretrial dates, if necessary, upon issuing a
            summary judgment order. The Court orders the parties to follow current
            versions of this Court’s standing order. Netlist may file a duly noticed
            motion seeking such relief, but it must set any such motion for hearing on
            February 5, 2024, at the same time as the summary judgment hearing.

Ex. 4.

#3 – Netlist’s Motion To Stay the C.D. Cal. Case

         On November 30, 2023, Netlist filed a motion to stay the C.D. Cal. Case, which Samsung

opposes. Netlist Inc. v. Samsung Electronics Co., Ltd., No. 8:20-cv-00993-MCS-ADS, Dkt. 344

(C.D. Cal. Nov. 30, 2023) (attached as Exhibit 4).
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Date: December 7, 2023                    Respectfully submitted,

                                          /s/ Melissa R. Smith

Melissa R. Smith                          Ruffin B. Cordell
melissa@gillamsmith.com                   TX Bar No. 04820550
GILLAM & SMITH, LLP                       cordell@fr.com
303 South Washington Ave.                 Michael J. McKeon
Marshall, Texas 75670                     D.C. Bar No. 459780
Telephone: (903) 934-8450                 mckeon@fr.com
Facsimile: (903) 934-9257                 Lauren A. Degnan
                                          D.C. Bar No. 452421
Brian R. Nester                           degnan@fr.com
DC Bar No. 460225                         Daniel A. Tishman
bnester@cov.com                           DC Bar No. 1013923
COVINGTON & BURLING LLP                   tishman@fr.com
One CityCenter 850 Tenth Street, N        FISH & RICHARDSON P.C.
Washington, DC 20001-4956                 1000 Maine Avenue, SW
Telephone: (202)-662-6000                 Washington, DC 20024
                                          Telephone: (202) 783-5070
Alice J. Ahn                              Facsimile: (202) 783-2331
CA Bar No. 271399/DC Bar No. 1004350
aahn@cov.com                              Francis J. Albert
COVINGTON & BURLING LLP                   CA Bar No. 247741
415 Mission Street, Suite 5400            albert@fr.com
San Francisco, CA 94105                   FISH & RICHARDSON P.C.
Telephone: (415) 591-7091                 12860 El Camino Real, Ste. 400
Facsimile: (415) 955-6571                 San Diego, CA 92130
                                          Telephone: (858) 678-5070
                                          Facsimile: (858) 678-5099

                                          Thomas H. Reger II
                                          reger@fr.com
                                          Texas Bar No. 24032992
                                          FISH & RICHARDSON P.C.
                                          1717 Main Street, Suite 5000
                                          Dallas, Texas 75201
                                          Telephone: (214) 747-5070
                                          Facsimile: (214) 747-2091



                 Attorneys for Defendants Samsung Electronics Co., Ltd.;
            Samsung Electronics America, Inc.; and Samsung Semiconductor, Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on December 7, 2023. As of this date, all

counsel of record have consented to electronic service and are being served with a copy of this

document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A) and by

electronic mail.


                                                    /s/ Melissa R. Smith
